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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

  LARRY KLAYMAN,
                              Plaintiff,
                       v.
                                                         Civil Action No. 1:19-cv-020544
  THOMAS J. FITTON,

                             Defendant.


  	
         NOTICE OF COUNSELS’ AVAILABILITY FOR HEARING ON DEFENDANT’S
          MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION

         Plaintiff, Larry Klayman, hereby submits this Notice of Counsels’ Availability

  Concerning Hearing on Defendant’s Motion to Dismiss for Lack of Personal Jurisdiction:

         1.      Counsel for Plaintiff and counsel for Defendant Thomas J. Fitton (“Defendant

  Fitton”) held a telephonic conference this morning with the Court’s law clerk concerning the

  upcoming hearing scheduled for April 30, 2019.

         2.      Due to back-to-back hearings on April 29, 2019 and May 1, 2019 in Washington,

  D.C., Plaintiff’s counsel, with the consent of Defendant Fitton’s counsel, respectfully requests

  that this honorable Court move the hearing from April 30, 2019 to May 3, 2019.

         3.      Counsel for Plaintiff and counsel for Defendant Fitton called the law clerk

  assigned to this case and she confirmed that May 3, 2019 is available.

  	
  	
  Dated: April 12, 2019                               Respectfully Submitted,

                                                       /s/ Larry Klayman
                                                      Larry Klayman, Esq.
                                                      KLAYMAN LAW GROUP, P.A.
                                                      2020 Pennsylvania Ave. N.W. # 800
                                                      Washington, D.C. 20006



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                                                     (561) 558-5336
                                                     Email: leklayman@gmail.com


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

  electronically and served through the Court’s ECF system to all counsel of record or parties on

  April 12, 2019.

                                                            /s/ Larry Klayman




  	
         	




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